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   1 DAN MARMALEFSKY                        RONALD G. WHITE
     (CA SBN 95477)                         (admitted pro hac vice)
   2 DMarmalefsky@mofo.com                  RWhite@wmhwlaw.com
   3 Morrison & Foerster LLP                Walden Macht Haran & Williams LLP
     707 Wilshire Boulevard                 250 Vesey Street
   4 Los Angeles, California 90017-3543     New York, NY 10281
   5 Telephone: 213-892-5200                Telephone: 212-335-2387
     Facsimile: 213-892-5454                Facsimile: 212-335-2040
   6
   7 Attorneys for Defendant Bernd Bergmair
   8                      UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA

  10
  11   SERENA FLEITES,                        Case No.: 2:21-cv-4920-WLH-ADS
                     Plaintiff,
  12       vs.                                DEFENDANT BERND
                                              BERGMAIR’S NOTICE OF
  13   MINDGEEK S.A.R.L., et al.,             MOTION AND MOTION TO
  14                                          DISMISS PLAINTIFF’S
                         Defendants.          SECOND AMENDED
  15                                          COMPLAINT
                                              FOR LACK OF PERSONAL
  16                                          JURISDICTION [FRCP
  17                                          12(B)(2)] AND FOR
                                              FAILURE TO STATE A
  18                                          CLAIM [FRCP 12(B)(6)];
                                              MEMORANDUM OF
  19                                          POINTS AND
                                              AUTHORITIES
  20
  21                                          Date: November 22, 2024
                                              Time: 1:30 p.m.
  22                                          Courtroom: 9B
                                              Judge: Hon. Wesley L. Hsu
  23
                                              Complaint Filed: June 17, 2021
  24                                          Trial Date: None Set
  25
  26
  27
  28


          BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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   1                       NOTICE OF MOTION AND MOTION
   2               TO PLAINTIFF AND THEIR COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that on November 22, 2024 at 1:30 pm, or as soon
   4 thereafter as the matter may be heard, before the Honorable Wesley L. Hsu, in
   5 Courtroom 9B of the First Street Courthouse, located at 350 W. 1st Street, Los
   6 Angeles, California 90012, Defendant Bernd Bergmair will and does hereby move
   7 to dismiss the Second Amended Complaint filed by Serena Fleites in its entirety.
   8         This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(2),
   9 on the grounds that the Court lacks personal jurisdiction over Defendant Bergmair,
  10 and Rules 12(b)(6) and 9(b), on the grounds that the Second Amended Complaint
  11 fails to state a claim against him upon which relief may be granted.
  12         This Motion is based on this Notice of Motion and Motion; the Memorandum
  13 of Points and Authorities in support thereof; the Motions and Memoranda of Points
  14 and Authorities in support thereof of the other Defendants in this action; the
  15 pleadings and other records in the Court’s file; and such other written and oral
  16 argument as may be presented to the Court.
  17         This Motion is made following the conference of counsel pursuant to L.R. 7-
  18 3, which took place on August 22, 2024.
  19         Dated: August 30, 2024
  20                                         By: /s/ Ronald G. White
                                             RONALD G. WHITE
  21                                         (admitted pro hac vice)
  22                                         rwhite@wmhwlaw.com
                                             Walden Macht Haran & Williams LLP
  23                                         250 Vesey Street
  24                                         New York, NY 10281
                                             Tel: (212) 335-2387
  25                                         Fax: (212) 335-2040
  26
                                             DAN MARMALEFSKY (CA SBN
  27                                         95477)
  28                                         DMarmalefsky@mofo.com
                                             Morrison & Foerster LLP
                                              i
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   1                                       707 Wilshire Boulevard
                                           Los Angeles, California 90017-3543
   2                                       Telephone: 213-892-5200
   3                                       Facsimile: 213-892-5454

   4                                       Attorneys for Defendant Bernd
   5                                       Bergmair

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   1                                  INTRODUCTION1
   2         Defendant Bernd Bergmair is a resident of China. He does not live or work
   3 in or have any connection to California or the United States. Bergmair is alleged, at
   4 most, to have been an indirect shareholder, with no management position, of a
   5 corporation that Plaintiff claims injured her. Despite its 594 paragraphs, the Second
   6 Amended Complaint (“SAC”) does not describe a single concrete act by Bergmair
   7 in furtherance of any of the tortious conduct Plaintiff alleges, much less any directed
   8 at California. The SAC does not allege that Bergmair had any contact with Plaintiff,
   9 or even knew of her existence, much less knew in what state she resided. Despite
  10 these undisputed facts, Plaintiff claims that she can require Bergmair to defend this
  11 case in a forum halfway around the world from his home. Plaintiff undertook a full
  12 year of scorched-earth jurisdictional discovery – demanding over 100,000 pages of
  13 corporate and personal records and emails, taking Bergmair’s deposition and seven
  14 others, propounding multiple rounds of interrogatories and requests for admission,
  15 serving third-party subpoenas and issuing letters rogatory to multiple foreign
  16 countries. But as the SAC demonstrates, Plaintiff came up empty with respect to
  17 Bergmair.     The SAC’s main allegation against Bergmair is that he adopted
  18 MindGeek’s supposed “unrestricted content” business model, but this is plainly
  19 deficient for several reasons. To begin with, the SAC alleges that MindGeek already
  20 had such a business model prior to his investment in the company, so its essential
  21 allegation with respect to Bergmair is that he did nothing at all. A corporate
  22 shareholder in China doing nothing is not an “intentional act” under Calder v. Jones2
  23 and cannot establish personal jurisdiction in California. In addition, the alleged
  24 conduct – “adopting” a pre-existing business model and policies for MindGeek’s
  25 websites worldwide – is the exact opposite of the type of conduct “expressly aimed”
  26 at California that is required for personal jurisdiction. Moreover, such conclusory
  27   1
       Pursuant to the stipulated Court Order, the page limit for this brief is 40 pages.
  28 ECF No. 424.
     2
       465 U.S. 783 (1984).
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  1   allegations cannot satisfy due process requirements for jurisdiction over Bergmair.
  2         Unable to establish personal jurisdiction over Bergmair directly, Plaintiff
  3   resorts to an alter ego theory. But the SAC does not even attempt to link Bergmair
  4   to the specific corporate entities whose contacts she seeks to impute to him, instead
  5   glossing over this deficiency by lumping them all together as “MindGeek.” In any
  6   event, Plaintiff cannot satisfy either prong of the alter ego test. First, the SAC’s
  7   glaring flaw is that it lacks any allegation that MindGeek is insolvent or unable to
  8   pay a judgment.
  9                                                                             This failure
 10   alone is fatal to Plaintiff’s claim. There is no injustice to Plaintiff and no basis to
 11   pierce the corporate veil to require a shareholder like Bergmair to stay in the case
 12   when MindGeek can pay any judgment Plaintiff could obtain. Second, to satisfy the
 13   unity of interest prong of the alter ego test, Plaintiff must show that Bergmair
 14   personally dictated every facet of MindGeek’s business, right down to its daily
 15   operations. But the SAC concedes that MindGeek’s senior management – not
 16   Bergmair – handled the company’s day-to-day operations.
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 22                                                                         Plaintiff cannot
 23   establish personal jurisdiction over Bergmair under any theory and the Court should
 24   therefore grant this motion to dismiss with prejudice.
 25         Plaintiff’s claims fail on the merits as well. First, even if any claim had been
 26   adequately pleaded – and not a single one is – all of the claims against Bergmair are
 27   barred by Section 230 of the Communications Decency Act. Moreover, the SAC’s
 28   allegations that Bergmair adopted MindGeek’s “unrestricted content” business

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  1   model – by doing nothing to change the business model that pre-dated his investment
  2   – do not establish the required elements of any of the SAC’s 14 separate claims
  3   against him. The SAC’s basic allegation with respect to Bergmair is that he failed
  4   to cause MindGeek to implement content moderation procedures to review users’
  5   postings for underage content. But the SAC seems not to recognize that, under
  6   federal law, a website has no affirmative duty to screen for underage content. 18
  7   U.S.C. § 2258A(f)(3). And an individual who is merely an investor in a company,
  8   one of whose subsidiaries operates a website certainly has no such obligation. The
  9   SAC does not address how failing to do something the law does not require in the
 10   first place could be the basis of claims like hers. As a result, the Court should dismiss
 11   the SAC with prejudice for failure to state a claim against Bergmair.
 12                               FACTUAL BACKGROUND
 13         Plaintiff Serena Fleites alleges that when she was a minor, at the urging of
 14   two different boyfriends, she voluntarily made sexually explicit videos that third
 15   parties later posted on websites operated by one or more of the MindGeek group of
 16   entities (collectively, “MindGeek”). SAC ¶¶ 448, 457-58. Setting aside the SAC’s
 17   dozens of pages of sensational accusations that have nothing whatsoever to do with
 18   Plaintiff’s claims, the gist of her allegations is that MindGeek did not employ
 19   effective content “moderation,” i.e., monitoring of content uploaded by third-party
 20   users to screen for violations of its published terms of service. SAC ¶¶ 2, 57-58, 67-
 21   68, 73. The SAC alleges that Bergmair, who resides in Hong Kong, China, was
 22   merely a shareholder in MindGeek and held no management position. SAC ¶ 17.
 23         The Court previously granted Plaintiff the opportunity to take jurisdictional
 24   discovery with respect to two issues: whether the Individual Defendants “directed
 25   or implemented” specific MindGeek policies or practices “which were applied to
 26   Plaintiff and her videos;” and whether Plaintiff had a “workable alter ego theory”
 27   under which she could impute the contacts of the MindGeek entity defendants to any
 28   of the Individual Defendants for personal jurisdiction purposes. July 29, 2022 Order

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  1   (ECF No. 167) at 5-6. Thereafter, Plaintiff undertook a full year of extensive
  2   discovery. With respect to the first issue, despite her receipt of substantial emails
  3   and internal corporate documents regarding MindGeek’s content moderation
  4   policies, Plaintiff fails to allege even one specific instance of Bergmair setting or
  5   deciding the policies that Plaintiff alleges harmed her. Instead, her SAC simply
  6   repeats, in various conclusory formulations, that Bergmair, along with the other
  7   shareholders, “adopted” and “maintain[ed]” MindGeek’s “business model” (SAC ¶¶
  8   2, 108, 109, 111, 150, 151, 155) and approved its corporate practices, but without
  9   specifying any practices other than MindGeek’s alleged “unrestricted content”
 10   model (SAC ¶¶ 17, 109, 149-50, 157, 387). The SAC alleges that MindGeek had in
 11   place an “unrestricted content” model prior to his 2013 investment (SAC ¶¶ 109,
 12   150, 151), so the gist of her allegation against Bergmair is that he failed to change
 13   that alleged pre-existing business model.
 14         With respect to Plaintiff’s alter ego theory, discovery confirmed that Bergmair
 15   had little involvement in MindGeek’s operations. Indeed, the SAC acknowledges
 16   that MindGeek’s CEO and COO “handl[ed] the direct day-to-day implementation”
 17   of MindGeek’s operations. SAC ¶ 109. Even after extensive discovery, the SAC
 18   alleges that Bergmair’s involvement in company operations consisted of just a
 19   handful of actions over a ten-year period (in addition to its boilerplate repetition that
 20   he approved unspecified corporate policies):
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 23
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 25
 26         Bergmair’s declaration submitted in support of this motion (“Bergmair
 27   Declaration”) and the evidence developed in jurisdictional discovery confirmed
 28

                                             4
         BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1              and was not involved in running the company. Bergmair testified
  2
  3                                                     Bergmair explained
  4
  5
  6
  7                                Bergmair testified
  8
  9
 10         The evidence regarding the 2013 management buyout (“MBO”) through
 11   which Bergmair invested in MindGeek confirmed this. At the time of the MBO,
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        Antoon and Tassillo’s continued management of MindGeek was considered so
      central to the future success of the company that
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          BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  6           In addition, from shortly after the 2013 MBO through mid-2021, Antoon and
  7   Tassillo
  8
  9                              Testimony from Antoon and Tassillo
 10
 11                             In February 2021, Antoon testified before a Canadian
 12   parliamentary committee that Bergmair was “a passive investor” in MindGeek who
 13   was “not involved in daily activities” of the company. See White Decl. Ex. K at 11.
 14   In his deposition, Antoon testified
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 26
 27   6
          Antoon testified
 28

                                               6
           BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1
  2
  3                      Consistent with his deposition and parliamentary testimony, when
  4   Antoon was asked by Plaintiff
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  8
  9
 10           The SAC alleges that MindGeek had a “sham” corporate structure
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 21                                                         Consistent with this, Bergmair
      testified
 22
 23                                                                             However,
      Plaintiff twists this testimony by alleging in the SAC
 24
      7
 25       In response to an identical request for admission, Tassillo

 26
 27
 28

                                                7
            BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1                                                                 Since Bergmair,
  2   a Hong Kong resident
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         BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1                   The entire premise of the SAC’s alter ego allegations is that
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  3
  4
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  6
  7                                                  Bergmair similarly testified
  8
  9
 10
 11                                       ARGUMENT9
 12   I.     Plaintiff has not established personal jurisdiction over Bergmair.
 13          The SAC fails to establish personal jurisdiction in this district over Bergmair.
 14   Plaintiff bears the burden to establish personal jurisdiction over each defendant.
 15   Harris Rutsky & Co. Ins. Services, Inc. v. Bell & Clements Ltd., 328 F.3d 1122,
 16   1128–29 (9th Cir. 2003); Moise v. The Boeing Co., ___ WL ____, 2:24-cv-03942-
 17   WLH-AGR (C.D. Cal. July 31, 2024), ECF No. 41 at 3. To do so, a plaintiff must
 18   “come forward with facts, by affidavit or otherwise, supporting personal
 19   jurisdiction.” Scott v. Breeland, 792 F.2d 925, 927 (9th Cir. 1986) (citation omitted).
 20   The “mere allegations of a complaint, when contradicted by affidavits, are not
 21   enough to confer personal jurisdiction over a non-resident defendant.” Chem Lab
 22   Products, Inc. v. Stepanek, 554 F.2d 371, 372 (9th Cir. 1977) (“Facts, not mere
 23   allegations, must be the touchstone”). Although a plaintiff is required only to
 24   establish a prima facie showing of jurisdictional facts, “the standard is not toothless.”
 25   8
 26
 27
 28   9
       In addition to the arguments set forth here, Bergmair joins in the motions submitted
      by all other defendants, as applicable.
                                               9
           BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1   In re Boon Global Ltd., 923 F.3d 643, 650 (9th Cir. 2019).
  2          Where, as here, there is no applicable federal statute governing personal
  3   jurisdiction, the court must apply the law of the forum state. See Fed. R. Civ. P.
  4   4(k)(1)(A); Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir.
  5   2004). Since California’s long-arm statute allows courts to exercise jurisdiction over
  6   defendants to the extent permitted by the Due Process Clause of the United States
  7   Constitution (Cal. Civ. Proc. Code § 410.10), jurisdiction over a nonresident
  8   defendant may be exercised only if he has “minimum contacts” with California, such
  9   that the exercise of jurisdiction “does not offend traditional notions of fair play and
 10   substantial justice.” Schwarzenegger, 374 F.3d at 801 (quoting Int’l Shoe Co. v.
 11   Washington, 326 U.S. 310, 316 (1945)). No such contacts exist here.
 12          The Ninth Circuit employs a three-part test to determine whether there is
 13   specific jurisdiction over a nonresident defendant, allowing it only where (1) the
 14   defendant has purposefully directed his activities toward the forum; (2) the claim
 15   arises out of or results from the defendant’s forum-related activities; and (3) the
 16   exercise of jurisdiction is reasonable.10 AMA Multimedia LLC v. Wanat, 970 F.3d
 17   1201, 1208 (9th Cir. 2020). Moreover, as the Supreme Court has mandated, “each
 18   party’s contacts with the forum state must be assessed individually.” In re Boon
 19   Global, 923 F.3d at 651 (quoting Calder, 465 U.S. at 790). Plaintiff cannot establish
 20   any of the three required elements for specific jurisdiction over Bergmair.
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 22
      10
 23      There is no serious argument that Bergmair is subject to general jurisdiction in
      this district. General jurisdiction requires that a party’s contacts with the forum are
 24   “substantial or continuous and systematic” so as to “approximate physical presence”
 25   in the state. Bancroft & Masters, Inc. v. Augusta Nat’l Inc., 223 F.3d 1082, 1086
      (9th Cir. 2000). “For an individual, the paradigm forum for the exercise of general
 26   jurisdiction is the individual’s domicile.” Goodyear Dunlop Tires Operations, S.A.
 27   v. Brown, 564 U.S. 915, 924 (2011); Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct.,
      141 S. Ct. 1017, 1024 (2021). The SAC confirms that Bergmair resides in China
 28   (SAC ¶ 17) and alleges no contacts with California, much less the “continuous and
      systematic” contacts needed to establish general jurisdiction over him.
                                              10
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  1          A.    The SAC does not establish any purposeful direction of
  2                Bergmair’s activities toward California.
  3          To determine if a defendant purposefully directed his activities at the forum
  4   state, the Ninth Circuit applies the three-part Calder effects test, which requires that
  5   the defendant (1) committed an intentional act (2) expressly aimed at the forum state,
  6   (3) causing harm that the defendant knows is likely to be suffered in the forum state.
  7   Picot v. Weston, 780 F.3d 1206, 1214 (9th Cir. 2015). The SAC fails to establish
  8   any of these elements with respect to Bergmair.
  9                1.     The SAC does not allege any intentional act by Bergmair.
 10          Under Calder, plaintiffs must first identify “an intentional act” taken by the
 11   defendant that gives rise to the action. Id. at 1214. The Ninth Circuit has defined
 12   an “intentional act” as “an external manifestation of the actor’s intent to perform an
 13   actual, physical act in the real world.” Schwarzenegger, 374 F.3d at 806. See AMA
 14   Multimedia, 970 F.3d at 1209. Here, despite extensive discovery and the fact that
 15   Plaintiff is now on her third bite at the apple, the SAC still does not specify a single
 16   affirmative physical act taken by Bergmair in connection with the MindGeek
 17   conduct it alleges harmed Plaintiff. Instead, the SAC simply repeats, in various
 18   formulations, that Bergmair, along with the other shareholders, adopted “an
 19   unrestricted content model” for MindGeek.11 SAC ¶¶ 2, 17, 108-09, 111-12, 149-
 20
      11
 21      The SAC also contains a host of allegations that Bergmair, along with the other
      Individual Defendants, took certain actions that have nothing to do with Plaintiff’s
 22   claims about how MindGeek handled the videos featuring her. These allegations,
 23   which mostly relate to MindGeek’s responses to media stories that did not involve
      Plaintiff and that were published years after her videos first supposedly appeared on
 24   MindGeek sites, are irrelevant. These allegations also constitute impermissible
 25   “group pleading” – describing a MindGeek corporate action and then appending a
      boilerplate allegation that it was directed by all the Individual Defendants, or by
 26   defendants Antoon and Tassillo “in consultation” with Bergmair. SAC ¶¶ 110, 136,
 27   200, 201, 202, 205, 207, 214, 236. Judge Carney previously highlighted this same
      fatal flaw in Plaintiff’s First Amended Complaint. ECF No. 168 (July 29, 2022
 28   Order) at 2 (noting Plaintiff’s “scattershot, group pleading,” which “fail[s] to
      identify the MindGeek Defendants’ individual roles in causing her harm”) (emphasis
                                              11
           BERGMAIR NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT
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  1   52, 155, 157. But despite Plaintiff’s attempt to dress up her claims with the term
  2   “unrestricted content model,” the SAC’s allegations are that Bergmair did nothing
  3   to cause MindGeek to screen for underage content on its websites. Indeed, the gist
  4   of the SAC is that MindGeek failed to put in place effective technological and human
  5   moderation (see, e.g., SAC ¶¶ 105, 108, 149) and it faults Bergmair for being aware
  6   of the general risk of underage content but failing to take any action (see, e.g., SAC
  7   ¶¶ 108, 111, 112, 152). But doing nothing is not an “intentional act” under Calder.
  8   Failing to take action is not “an actual, physical act in the real world.” This is
  9   especially true with respect to Bergmair, since the SAC alleges that MindGeek was
 10   already doing nothing with respect to content moderation at the time of his 2013
 11   investment. SAC ¶¶ 109, 150, 151. Further undercutting Plaintiff’s claim, there
 12   was no obligation at all for MindGeek to screen content posted to its websites for
 13   underage content. See 18 U.S.C. § 2258A(f)(3) (website provider has no duty to
 14   “affirmatively search, screen, or scan for” underage content). And certainly an
 15   individual who was merely an indirect shareholder of a company whose subsidiary
 16   is a website provider has no such duty. Such omissions or failures to act do not
 17   satisfy Calder’s intentional act requirement. See Perez v. United States, 2014 WL
 18   4385473 at *8, (S.D. Cal. Sept 3, 2014) (government officials’ “omissions,”
 19   including failure to “prevent or correct the use” of the policy that allegedly harmed
 20   plaintiff were not intentional acts under Calder); Hoffman v. Michael A. Rolf C.P.A.
 21   & Co., 2019 WL 2451007 at *3 (N.D. Cal. June 12, 2019) (defendant’s failures to
 22   act, even if they harmed plaintiff, do not constitute intentional acts under Calder).12
 23
 24
      in original). Judge Carney ruled that jurisdictional discovery was meant to provide
 25   Plaintiff with facts “regarding the role and conduct of each MindGeek defendant
 26   separately,” and urged Plaintiff to dismiss a defendant if “discovery does not yield
      the information she needs to clearly define a defendant’s conduct as it relates to her
 27   harm.” Id. (emphasis in original). Plaintiff ignored the Court’s admonition.
 28   12
        See also Jenkins v. Miller, 983 F. Supp. 2d 423, 448-49 (D. Vt. 2013) (a “failure to
      act” such as failing to notify authorities of potential parental kidnapping “does not
                                              12
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  1         Moreover, even if doing nothing were considered an “intentional act” under
  2   Calder, the SAC’s allegations that Bergmair allowed MindGeek’s pre-existing
  3   “unrestricted content” model to continue after he invested are insufficient to confer
  4   personal jurisdiction over him. Courts in the Ninth Circuit have found personal
  5   jurisdiction over an individual based on conduct undertaken in their corporate
  6   capacity only where: (1) the individual exercised control and directly participated in
  7   the conduct forming the basis for the plaintiff’s claims; or (2) the corporation is the
  8   agent or alter ego of the individual defendant.        See Dynascan Tech., Inc. v.
  9   Plasmedia Productions, Inc., 2010 WL 11520614, at *2 (C.D. Cal. Jan. 21, 2010);
 10   Securities and Exchange Comm’n v. Jammin Java Corp., 2016 WL 6595133, at *9
 11   (C.D. Cal. July 18, 2016); Wolf Designs, Inc. v. DHR Co., 322 F. Supp. 2d 1065,
 12   1072 (C.D. Cal. 2004). Plaintiff cannot satisfy either of these elements.
 13                       a.    The SAC does not plead facts establishing that
 14                             Bergmair was the guiding spirit or a direct participant
 15                             in the alleged tortious conduct.
 16         To satisfy the first element, a plaintiff must demonstrate that the individual
 17   defendant was the “guiding spirit” or “central figure” in the challenged corporate
 18   conduct. In re Boon Global, 923 F.3d at 651; Davis v. Metro Prods., Inc., 885 F.2d
 19   515, 523 n.10 (9th Cir. 1989) (citation omitted).           Here, despite extensive
 20   jurisdictional discovery, the SAC fails to allege facts establishing that Bergmair
 21   directly participated – much less was the “guiding spirit” or “central figure” – in the
 22   conduct underlying Plaintiff’s claims.
 23         The Court allowed Plaintiff to take jurisdictional discovery with respect to
 24   whether each Individual Defendant “directed or implemented” specific MindGeek
 25   policies or practices “which were applied to Plaintiff and her videos.” July 29, 2022
 26   Order (ECF No. 167) at 5. Thereafter, Plaintiff undertook a full year of extensive
 27
 28   constitute the type of direct, affirmative and overt conduct necessary to supply
      specific personal jurisdiction” under Calder).
                                            13
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  1   discovery.   Specifically, with respect to the MindGeek policies and practices
  2   regarding content moderation that allegedly harmed Plaintiff, she sought production
  3   of all corporate and personal emails that contained any of thirty-three wildly
  4   overbroad search terms, including common terms like “compliance” and “training”
  5   without any limitations. See White Decl. Ex. D at 2-3.
  6
  7
  8
  9                                       In short, the SAC cites no concrete actions by
 10   Bergmair directing or implementing MindGeek’s content moderation policies
 11   because discovery produced no evidence that he had such a role. Indeed, the SAC
 12   includes an extensive section critiquing MindGeek’s content moderation process,
 13   including the supposed weaknesses of its human and technological moderation
 14   functions, its processes for dealing with removal requests and content flagged as
 15   inappropriate by users, and a host of other practices Plaintiff faults. SAC ¶¶ 67-104.
 16   But nowhere in those thirty-eight paragraphs is Bergmair even mentioned, much less
 17   shown to have directed or implemented those policies.
 18          Having come up empty in jurisdictional discovery, the SAC instead relies on
 19   generic allegations that fail to demonstrate that Bergmair was the “guiding spirit” or
 20   “central figure” in the challenged corporate conduct. To begin with, the SAC’s
 21   allegations that Bergmair controlled MindGeek as a result of his alleged majority
 22   economic interest (SAC ¶¶ 2, 17, 150, 157) are plainly insufficient to establish
 23   personal jurisdiction. If such allegations were sufficient, every majority shareholder
 24   of a corporation would be subject to personal jurisdiction in any venue where the
 25   company could be sued.14        Second, the SAC alleges that he “adopted” and
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      13
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 28   14
        See Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 781 n.13 (1984) (“it does not
      of course follow from the fact that jurisdiction may be asserted over [the corporation]
                                              14
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  1   “maintain[ed]” MindGeek’s “business model” by failing to change MindGeek’s pre-
  2   existing practices (SAC ¶¶ 2, 108, 109, 111, 150, 151, 155) and uses a thesaurus full
  3   of synonyms to allege that he approved corporate practices but without specifying
  4   which practices, other than MindGeek’s alleged pre-existing “unrestricted content”
  5   model. SAC ¶¶ 17 (“aware of, endorsing, and approving”); 109 (had “final say”);
  6   149 (“controlled, set and implemented”); 150 (“dictated and approved”); 157
  7   (“ultimate decision-maker”); 387 (“made the business’ … decisions”). Conclusory
  8   allegations that an individual defendant directed or supervised the conduct giving
  9   rise to the plaintiff’s claim are insufficient to establish personal jurisdiction,
 10   particularly here, where the gist of the SAC’s allegations is that Bergmair simply
 11   did nothing to change MindGeek’s pre-existing practices after he invested.15
 12   Instead, concrete factual allegations establishing that the individual defendant’s
 13   direct participation made him the “guiding spirit” in the alleged wrongdoing are
 14   required.
 15         For example, in Green v. Hepta Run, Inc., 2020 WL 1638273 (C.D. Cal. April
 16   2, 2020), the plaintiff sued his employer and its CEO/owner asserting wage and hour
 17   claims. The plaintiff alleged that the owner had “approved” and “set in motion” the
 18   corporate “business model” leading to the alleged employment law violations in the
 19   case. Id. at *2. The court held that allegations “regarding [the owner’s] role in
 20   creating [the company] and approving its business model are insufficient to allow
 21
      that jurisdiction may also be asserted over [its owner]”); Jammin Java Corp., 2016
 22   WL 6595133 at *9 and *11 (court lacked personal jurisdiction over individual
 23   defendants since complaint’s “conclusory allegation that the owner[’s] actions are
      coexistent with that of the owned . . . entity is insufficient”).
 24   15
         For example, in Perez, 2014 WL 4385473, the survivors of an individual who had
 25   allegedly been the victim of a government use-of-force policy known as the
      “Rocking Policy” sued the federal government as well as individual supervisory
 26   Border Patrol officials. Id. at *1-3. Plaintiffs alleged that each of the supervisory
 27   officials was responsible for “implementing and approving” the Rocking Policy and
      for “knowing about the Rocking Policy but failing to put a stop to it.” Id. at *7
 28   (emphasis added). The court ruled that these allegations were insufficient to
      establish personal jurisdiction over the supervisors. Id. at *8.
                                            15
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  1   this Court to exercise specific jurisdiction over him” because they fail the
  2   requirement that plaintiff plead facts establishing that the owner was the “guiding
  3   spirit” behind the alleged wage and hour violations. Id. at *3. In Fagusbe v. Willms,
  4   2011 WL 3667440 (C.D. Cal. Aug. 22, 2011), the plaintiff sued two corporations
  5   and their CEO alleging that the companies had engaged in unfair business practices.
  6   The complaint alleged that the court had jurisdiction over the CEO because he made
  7   “all final decisions on [the companies’] business practices and policies” and
  8   “personally directed” their activities.   Id. at *3.    The court held that these
  9   “conclusory” allegations failed to establish that the CEO was the “guiding spirit” or
 10   “central figure” in the challenged corporate conduct. Id. at *3-4. In Brown v.
 11   General Steel Domestic Sales, LLC, 2008 WL 2128057 (C.D. Cal. May 19, 2008),
 12   the plaintiff brought an action against a corporation and its owner asserting various
 13   claims arising out of the company’s allegedly misleading advertising.            The
 14   complaint alleged that the individual defendant was a “principal” of the company
 15   who “formulates, controls, directs [and] supervises … the practices and policies” of
 16   the company but did not allege facts showing that he was “personally responsible
 17   for” or had “authorized” the allegedly misleading advertisements. Id. at *9, *12.
 18   The court granted a motion to dismiss, finding that, “[a]t most, these allegations
 19   indicate that [the defendant] plays a broad managerial role within the company; they
 20   in no way suggest that he was the ‘guiding spirit’ behind [the company’s]
 21   advertising.” Id. at *11. See also M.O. Dion and Sons, Inc. v. VP Racing Fuels,
 22   Inc., 2019 WL 4750116 at *6-7 (C.D. Cal. Sept. 27, 2019) (where plaintiff alleged
 23   that company’s majority owner and President provided “strategic[,] financial[,] and
 24   operational leadership” for the company, was a “hands-on micromanager” and “all
 25   matters of any significance were discussed and reported” to him, such conclusory
 26   allegations “failed to demonstrate that [owner] was the ‘central figure’ in the
 27   disputed activities”); Cisco Systems, Inc. v. Link US LLC, 2019 WL 6682838 at *1
 28   and *4 (N.D. Cal. Dec. 6, 2019) (allegations that corporate president was “intimately

                                            16
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  1   involved in operating” company and “actively involved in [its] day-to-day
  2   management and operations” were insufficient; “[i]f general allegations of
  3   managerial responsibilities . . . were sufficient to establish specific jurisdiction in
  4   this case, specific jurisdiction would extend to a company’s officers in virtually
  5   every case where it extended to the company itself. That result is inconsistent with
  6   Ninth Circuit precedent”).
  7                       b.    The SAC does not plead facts establishing that
  8                             MindGeek is an alter ego of Bergmair.
  9         Plaintiff similarly cannot satisfy the alter ego test to obtain personal
 10   jurisdiction over Bergmair based on MindGeek’s corporate conduct. The SAC’s
 11   alter ego allegations are contradicted both by the Bergmair Declaration and the
 12   evidence developed in jurisdictional discovery. But even were the Court to accept
 13   them as true for purposes of this motion, they are legally insufficient.
 14         To begin with, “a basic tenet of American corporate law is that the corporation
 15   and its shareholders are distinct entities.” Dole Food Co. v. Patrickson, 538 U.S.
 16   468, 474 (2003). Application of the alter ego doctrine is “recognized as an extreme
 17   remedy” and to be employed “only in exceptional circumstances.” Langley v.
 18   Guiding Hands School, Inc., 2021 WL 978950, at *4 (E.D. Cal. Mar. 16, 2021)
 19   (quoting Calvert v. Huckins, 875 F. Supp. 674, 678 (E.D. Cal. 1995)). To impute a
 20   corporation’s jurisdictional contacts to an out-of-forum shareholder on an alter ego
 21   theory, the plaintiff must establish that (1) there is “such unity of interest” and
 22   ownership that the separate personalities of the two parties no longer exist; and (2)
 23   failure to disregard their separate identities “would result in fraud or injustice.”
 24   Iconlab, Inc. v. Bausch Health Cos., Inc., 828 F. App’x 363, 364 (9th Cir. 2020)
 25   (quoting Ranza v. Nike, Inc., 793 F.3d 1059, 1073 (9th Cir. 2015)) (emphasis added).
 26                             i.     The SAC’s allegations fail to establish the
 27                                    “injustice” element of the alter ego test.
 28         What is most remarkable about the SAC’s alter ego allegations is what they

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  1   fail to say. In support of her alter ego claim, one might have expected that Plaintiff
  2   would allege that the Individual Defendants took excessive amounts from
  3   MindGeek, leaving the company insolvent and frustrating Plaintiff’s ability to
  4   collect a judgment, resulting in injustice that requires piercing the corporate veil.
  5   But the SAC alleges nothing like this at all.
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  8                                                                            The SAC does
  9   not allege that MindGeek is undercapitalized; in fact, as the SAC concedes,
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 14                         The SAC does not allege that the Individual Defendants took
 15   excessive dividends from MindGeek;
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 18                           The SAC does not allege that the Individual Defendants
 19   otherwise diverted significant funds from MindGeek;
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 21                                                                                 The SAC
 22   catalogues supposed failures to follow corporate form but ignores that the law also
 23   requires a showing that she will suffer injustice as a result of such purported failures.
 24         The SAC’s most glaring omission is its failure to include any allegations to
 25   support the injustice prong of the alter ego test. Plaintiff is unable to extend
 26   jurisdiction over Bergmair under an alter ego theory if she can recover any potential
 27   judgment against the MindGeek corporate defendants. This is a fatal flaw. For this
 28   reason alone – without having to sort through Plaintiff’s allegations regarding the

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  1   unity of interest element – the Court should grant Bergmair’s motion to dismiss.
  2   The SAC does not allege that any of the MindGeek corporate defendants, including
  3   those over whom jurisdiction is conceded, are insolvent or otherwise unable to
  4   satisfy a potential judgment.16 Courts have repeatedly rejected similar alter ego
  5   claims when the plaintiff failed to establish that the corporate defendant – the
  6   supposed alter ego – was insolvent or otherwise unable to satisfy a judgment. See
  7   e.g., Boobuli’s LLC v. State Farm General Ins. Co., 2024 WL 269147 at *5 (N.D.
  8   Cal. Jan. 24, 2024) (even where unity of interest between parent and subsidiary was
  9   shown, plaintiff’s failure to show that subsidiary was inadequately capitalized and
 10   that injustice would result from proceeding against subsidiary alone required denial
 11   of alter ego claim); Fru-Con Construction Corp. v. Sacramento Municipal Utility
 12   District, 2007 WL 2384841, at *3 (E.D. Cal. Aug. 17, 2007) (where remaining
 13   corporate defendant could cover any judgment plaintiff might obtain, “this fact alone
 14   is sufficient to negate the imposition of alter ego”). See also Stewart v. Screen Gems-
 15   EMI Music, Inc., 81 F. Supp. 3d 938, 956 (N.D. Cal. 2015) (finding no injustice and
 16   dismissing alter ego claim where the remaining defendant corporation had the
 17   “financial capacity to fully respond to [plaintiff’s] claims”); Shimmick Constr. Co.
 18   v. Officine Meccaniche Galetti-O.M.G.S.R.L., 2014 WL 5847440, at *7 (S.D. Cal.
 19   Nov. 12, 2014) (dismissing alter ego claim where plaintiff could be “made whole”
 20   by remaining corporate defendants); NuCal Foods, Inc. v. Quality Egg, LLC, 887 F.
 21   Supp. 2d 977, 993-94 (E.D. Cal. 2012) (rejecting alter ego claim where plaintiff
 22   failed to show that corporate defendants who conceded jurisdiction were
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  1   underfunded or non-operational and would leave plaintiff with an “unenforceable
  2   judgment”); Mireskandari v. Daily Mail and General Trust PLC, 2013 WL
  3   12114760, at *6 (C.D. Cal. July 31, 2013) (where defendant corporation was
  4   “capable of satisfying a judgment,” failure to pierce corporate veil to reach parent
  5   corporation would not result in injustice); Wady v. Provident Life & Accident Ins.
  6   Co., 216 F. Supp. 2d 1060, 1070 (C.D. Cal. 2002) (plaintiff failed to establish
  7   injustice will result where remaining corporate defendant “is fully able to respond
  8   to any damages award [plaintiff] may recover in this action”); Calvert, 875 F. Supp.
  9   at 679-80 (where remaining corporate defendant was well-capitalized and dismissal
 10   of supposed alter ego owners would have no effect on plaintiff’s “likely recovery,”
 11   injustice prong not satisfied). Given Plaintiff’s failure to establish that injustice will
 12   result, there is no basis to require Bergmair to remain a defendant in this case.
 13                              ii.    The SAC cannot establish the “unity of interest”
 14                                     element of the alter ego test.
 15         Plaintiff also fails to satisfy the unity of interest element. To begin with, the
 16   SAC alleges no facts regarding the relationship between Bergmair and any of the
 17   individual MindGeek entity defendants whose alleged jurisdictional contacts
 18   Plaintiff seeks to impute to him, instead lumping them all together simply as
 19   “MindGeek.” SAC ¶¶ 313-447. Indeed, after the SAC’s introductory paragraphs
 20   regarding each of the five MindGeek entities that do not contest jurisdiction,
 21   identifying their basic corporate information and business (SAC ¶¶ 12-16), it does
 22   not contain a single substantive factual allegation regarding any of them in its
 23   remaining 576 paragraphs, much less set forth any conduct Bergmair took
 24   specifically with respect to the affairs of these entities. This is plainly insufficient.
 25   The alter ego analysis necessarily focuses on the relationship between the specific
 26   parties who are alleged to be alter egos. Ranza, 793 F.3d at 1070–71 (inquiry is
 27   whether parties are “‘not really separate entities,’ such that one entity’s contacts with
 28   the forum state can be fairly attributed to the other”) (emphasis added). See also

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  1   Tatung Co., Ltd. v. Shu Tze Hsu, 217 F.Supp.3d 1138, 1181 (C.D. Cal. 2016) (alter
  2   ego inquiry “is individual as to each owner and corporation”); Whitney v. Wurz, 2007
  3   WL 1593221 at *2 (N.D. Cal. June 1, 2007) (same).
  4         But even if Plaintiff could lump all the MindGeek defendants together as one,
  5   she still fails to show the required “unity of interest” with Bergmair because the SAC
  6   concedes – and the Bergmair Declaration and jurisdictional discovery confirmed –
  7   that he did not control MindGeek’s day-to-day operations, and its allegations of his
  8   involvement in company affairs fall far short of establishing such control. To satisfy
  9   this element, Plaintiff must establish that Bergmair so dominates and controls
 10   MindGeek that the “separate personalities of the two parties no longer exist.”
 11   Iconlab, 828 F. App’x at 364. The “unity of interest” element “envisions pervasive
 12   control” over a company, such as when an owner “dictates every facet of [its]
 13   business,” including “matters of day-to-day operation.” Ranza, 793 F.3d at 1073
 14   (citation omitted); In re Boon Global, 923 F.3d at 653 (same). The Ninth Circuit
 15   has repeatedly identified control of a corporation’s daily operations as an
 16   indispensable element of an alter ego claim. See Doe v. Unocal Corp., 248 F.3d
 17   915, 926 (9th Cir. 2001) (alter ego relationship typified by owner’s “control of the
 18   [company’s] internal affairs or daily operations”); Kramer Motors, Inc. v. British
 19   Leyland, Ltd., 628 F.2d 1175, 1177 (9th Cir. 1980) (alter ego finding requires that
 20   owner “controls the internal affairs of [the company] or determines how it operates
 21   on a daily basis”). See also Iconlab, 828 F. App’x at 364–65 (finding of no alter ego
 22   relationship where owner’s corporate activities, while extensive, did not amount to
 23   “day-to-day involvement in [companies’] governance”); Ranza, 793 F.3d at 1074–
 24   75 (finding no alter ego relationship where owner was “heavily involved” in
 25   company’s business but did not direct “routine, day-to-day operations”).
 26         Here, the SAC concedes that Bergmair was a shareholder with no
 27   management position who lived in China (SAC ¶ 17),
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  1                                                                     Indeed, the SAC
  2   acknowledges the obvious, conceding that Antoon and Tassillo “handl[ed] the direct
  3   day-to-day implementation” of MindGeek’s operations.17 SAC ¶ 109. Moreover,
  4   the handful of instances of Bergmair’s involvement in MindGeek’s business cited
  5   in the SAC do not come close to establishing that he personally controlled its daily
  6   operations. The SAC alleges that Bergmair approved unspecified corporate policies
  7   (SAC ¶¶ 17, 108-09, 111, 149-50, 155, 157, 387);
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  4          The Ninth Circuit has specifically found that actions like this, which are
  5   “consistent with a [party’s] investor status,” do not give rise to alter ego status. See
  6   Doe, 248 F.3d at 926 (quoting United States v. Bestfoods, 524 U.S. 51, 59 (1998)).
  7   Indeed, these are prototypical examples of what courts have found to be “macro-
  8   management,” which, even in conjunction with other corporate involvement, does
  9   not give rise to an alter ego relationship.22 See Iconlab, 828 F. App’x at 364–65
 10   (affirming district court’s finding of no alter ego relationship where owner
 11   “approved [companies’] large purchases,” as well as financed their activity, issued
 12   collective media releases and submitted consolidated earnings reports, since none of
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        Virtually all the actions Bergmair allegedly took with respect to MindGeek’s
      business arose directly from his “investor status” – since it was envisioned that
 26   Antoon and Tassillo would manage the company
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  1   these activities reflected “day-to-day involvement in [companies’] governance”);
  2   Ranza, 793 F.3d at 1074-75 (where owner was “heavily involved” in company’s
  3   operations, including approving “large purchases,” controlling budget and setting
  4   general policies, but did not direct “routine, day-to-day operations,” its role in
  5   “macromanagement issues” did not indicate alter ego relationship); Doe, 248 F.3d
  6   at 927 (owner’s “macro-management” of company, including involvement in
  7   company’s acquisitions and expenditures, “formulation of general business policies
  8   and strategies” and provision of financing did not amount to alter ego relationship);
  9   Kramer, 628 F.2d at 1177 (fact that owner had “general executive responsibility for
 10   the operation” of company, including “review[ing] and approv[ing] its major policy
 11   decisions,” and “work[ing] closely” with company executives on pricing, was
 12   insufficient for alter ego status); Sun Group U.S.A. Harmony City, Inc. v. CCRC
 13   Corp. Ltd., 2024 WL 2193311, at *11-13 (N.D. Cal. May 14, 2024) (where owner
 14   “directed [company’s] major or macro decisions” regarding acquisitions and major
 15   financial actions, no alter ego relationship was shown; test requires that owner “must
 16   control the internal affairs or daily operations of the [company], or ‘micro-
 17   decisions.’”); Mireskandari, 2013 WL 12114760 at *3 and *6 (where owner
 18   developed strategy and set company’s policies with respect to “accounting,
 19   employees, customers, vendors, compensation and data protection,” such “general
 20   policy-setting” was insufficient since alter ego test requires control over how
 21   company is operated on day-to-day basis); Fru-Con Construction, 2007 WL
 22   2384841 at *5-6 (macro-management of company by owner, such as approving
 23   major contracts and personnel decisions and monitoring company’s performance by
 24   “keeping abreast” of developments, does not amount to day-to-day control and was
 25   insufficient to show alter ego); Calvert, 875 F. Supp. at 679 (to establish alter ego,
 26   plaintiff must show that owner does more than exercise “broad oversight” of
 27   company and set “general policies,” but instead show that he “control[s] ‘how the
 28   company will be operated on a day-to-day basis’”) (citation omitted).

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  1          In addition to the SAC’s allegations being facially insufficient, the evidence
  2   developed in jurisdictional discovery, as described in the Factual Background
  3   section supra at 4-7, confirmed that Bergmair was merely a shareholder in
  4   MindGeek and that the company’s daily operations were conducted by its senior
  5   management team.
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 10                    if Bergmair himself was the one who “dictate[d] every facet of [its]
 11   business,” including “matters of day-to-day operation.” Ranza, 793 F.3d at 1073
 12   (citation omitted).   In addition,
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 14
 15          See supra at 6-7.
 16                              iii.    The SAC’s remaining alter ego allegations are
 17                                      insufficient.
 18           The SAC also includes a lengthy series of allegations regarding MindGeek’s
 19   supposed failures to observe corporate form (SAC ¶¶ 313-447), but they offer no
 20   support for Plaintiff’s claim that MindGeek is Bergmair’s alter ego, and are refuted
 21   by both the Andreou Declaration and the Bergmair Declaration.
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 25                                     But her claim proceeds from a misunderstanding of
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         The SAC (¶¶ 335-36, 343) mischaracterizes a snippet of Bergmair’s deposition
      testimony – and misleadingly omits a key portion of the testimony it quotes
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  1   basic corporate law principles.    There is nothing unusual or actionable about
  2   shareholders of a closely-held corporation entering into a formal shareholders
  3   agreement. In fact, a corporate shareholders agreement to distribute their economic
  4   and voting rights in different proportion to shareholding interests is common and
  5   perfectly proper under corporate law. See Fletcher, Cyclopedia of Corporations §
  6   5332 (“shareholders of closely-held corporations may enter into an agreement that
  7   governs the authorization or making of distributions whether or not in proportion to
  8   ownership of shares”) (emphasis added). Indeed, the Model Business Corporations
  9   Act §7.32 specifically authorizes shareholder agreements, with the Official
 10   Comment to that section noting that shareholders of closely-held corporations
 11   “frequently enter into agreements that govern the operation of the enterprise
 12   [including] governance of the entity, allocation of the economic return from the
 13   business, and other aspects of the relationships among shareholders.” (Emphasis
 14   added.) Similarly, California’s Corporations Code recognizes that shareholders of
 15   a closely-held corporation may enter into shareholder agreements relating to “any
 16   phase of the affairs of a close corporation, including but not limited to management
 17   of its business [or] division of its profits.” Cal. Corp. Code § 300(b) (emphasis
 18   added.)   Indeed, the Ninth Circuit has affirmed the enforcement of a close
 19   corporation’s shareholders’ agreement pursuant to § 300(b). See Hubbard v. Phil’s
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  1   BBQ of Point Loma, Inc., 609 Fed. App’x. 478, 479 (9th Cir. 2015).24
  2          Second, the SAC alleges
  3                                                                        Even if this were
  4   true – and that Plaintiff somehow knows better than the prominent international law
  5   and accounting firms who advised on the structure that Plaintiff challenges25 – this
  6   contention is irrelevant to the alter ego analysis.
  7
  8                                                                          Equating them
  9   is comparing apples to oranges. In addition, Plaintiff overlooks that these allegations
 10   undercut her alter ego claim. As discussed above, Plaintiff has failed to show that
 11   the failure to follow corporate form resulted in an injustice to her since the SAC does
 12   not allege that MindGeek is unable to pay a potential judgment. Supra at 17-20.
 13   But even if she could make that showing,
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         In addition to being based on a fundamental misunderstanding of corporate law,
 22   the SAC’s allegations are contradicted by the Andreou and Bergmair Declarations,
 23   as well as Bergmair’s deposition testimony. Andreou Decl. at ¶¶ 55-59; White Decl.
      Ex. P at ¶ 6; supra at 7-9.
 24   25
         See Andreou Decl. at ¶ 55; White Decl. Ex. P at ¶ 6; supra at 7-9.
 25
      26
          The SAC’s allegations

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  1         Third, the SAC alleges
  2             With respect to
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 17                                                                             For example,
 18   virtually every home seller directs the buyer, at their closing, to pay a portion of the
 19   purchase price to the seller’s bank to pay the balance of his mortgage.
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 26                                   As set forth supra at 20-25, the corporate actions that
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  1   the SAC alleges Bergmair took are either contradicted by the evidence developed in
  2   discovery or otherwise insufficient to show that Bergmair exercised the required
  3   day-to-day control of the company. The one additional allegation that Plaintiff
  4   raises is that,
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  8                             But again, this has nothing whatsoever to do with the
  9   observance of corporate form by MindGeek.
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 13          Finally, the SAC alleges
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 15   Even on its face, the allegation is insufficient because the SAC fails to show that
 16   these transactions were material to MindGeek or negatively impacted MindGeek’s
 17   financial capacity.
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 21          In fact, the evidence developed in jurisdictional discovery showed
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 14                2.    The SAC does not allege any act by Bergmair expressly
 15                      aimed at this forum.
 16         Plaintiff also fails to satisfy the second prong of the Calder test, which
 17   requires that she establish not merely that her alleged injury in California was
 18   foreseeable to Bergmair, but that he “expressly aimed” his conduct at California.
 19   Pebble Beach Co. v. Caddy, 453 F. 3d 1151, 1156–60 (9th Cir. 2006); Bancroft &
 20   Masters, 223 F.3d at 1087–88; ScoreBlue, LLC v. Locum Tele PC, 2024 WL
 21   3304515 at *6 (C.D. Cal. May 29, 2024). The SAC includes no facts suggesting
 22   that the particular actions it alleges by Bergmair were expressly aimed at California.
 23   Indeed, the adoption of a global business model and corporate policies applicable
 24   worldwide to a company’s websites are the polar opposite of the required “express
 25   aiming.” As a result, Plaintiff cannot satisfy this element. See AMA Multimedia,
 26   970 F.3d at 1209-11 (where there was no showing that operator of global website
 27   specifically targeted the United States, “express aiming” element was not satisfied;
 28   fact that 20% of website’s visitors were from United States and operator “may have

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  1   foreseen that [the website] would attract a substantial number of viewers in the
  2   United States” does not establish express aiming); Ariix, LLC v. NutriSearch Corp.,
  3   2022 WL 837072 at *3-4 (S.D. Cal. Mar. 21, 2022) (fact that publisher marketed
  4   and sold its guides throughout the United States was insufficient to show express
  5   aiming where complaint failed to “explain how [publisher’s] alleged activity was
  6   specifically targeted at California”); Baton v. Ledger, SAS, 2021 WL 5226315 at *8-
  7   9 (N.D. Cal. Nov. 9, 2021) (fact that hardware company sold its products through
  8   website available throughout the United States, solicited customers nationwide, and
  9   derived revenue from California customers failed to show a “forum-specific focus
 10   on California” and thus was insufficient to show express aiming).28
 11                3.     Bergmair did not cause harm that he knew would be
 12                       suffered in this forum.
 13          Plaintiff similarly fails to satisfy the third prong of the Calder test, which
 14   requires that the defendant’s conduct caused harm “which is suffered – and which
 15   the defendant knows is likely to be suffered – in the forum state.” Core-Vent Corp.
 16   v. Nobel Industries AB, 11 F.3d 1482, 1486 (9th Cir. 1993). The SAC does not
 17   allege that Bergmair knew Plaintiff or that she was a California resident, so he could
 18   not have known about the likelihood that she would suffer harm in California.
 19          B.    Bergmair did not engage in forum-related activities, much less any
 20                related to Plaintiff’s claims.
 21          Plaintiff is also unable to establish the second element of specific jurisdiction,
 22   namely, that her claims arise from Bergmair’s alleged forum-related activities. To
 23   satisfy this element, Plaintiff must show a “direct nexus” between the defendant’s
 24   forum-related contacts and her cause of action. In re Western States Wholesale
 25
 26   28
        See Elliot v. Cessna Aircraft Co., 2021 WL 2153820 at *3-4 (C.D. Cal. May 25,
 27   2021) (fact that aircraft parts manufacturer operated interactive nationwide website
      and had $8 million in sales in California did not show express aiming; “operating a
 28   universally accessible website” is insufficient to show express aiming because
      “specific targeting is what is required”).
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  1   Natural Gas Antitrust Litigation, 715 F.3d 716, 742 (9th Cir. 2013). Contacts that
  2   are too “attenuated” from the claims at issue do not satisfy this test. Doe v. American
  3   Red Cross, 112 F.3d 1048, 1051 (9th Cir. 1997).
  4         As described above, the SAC does not establish that Bergmair engaged in any
  5   conduct in, or aimed at, California, so Plaintiff’s claim could not possibly have
  6   arisen from forum-related conduct. Nor can Plaintiff establish the required “direct
  7   nexus” between Bergmair’s alleged conduct and her claims. For example, in Doe v.
  8   American Red Cross, the survivor of an individual who contracted AIDS from a
  9   blood transfusion in Arizona sued the Food and Drug Administration official
 10   responsible for the safety of blood products, alleging that he failed to take action to
 11   ensure a blood supply free from the AIDS virus. Id. at 1050. Plaintiff alleged that
 12   the official had failed to put in place certain policies, such as barring high-risk groups
 13   from donating blood. Id. The Ninth Circuit reversed the district court’s finding of
 14   personal jurisdiction over the official, ruling that his conduct was “at best,
 15   attenuated” from the dissemination of blood products in Arizona and plaintiff’s
 16   injuries could not be said to arise from his alleged conduct. Id. at 1051. Here, just
 17   as in Doe, the SAC alleges that Bergmair failed to put in place nationwide and
 18   worldwide policies that would have prevented Plaintiff’s injuries years later in one
 19   particular state, but this alleged causation is far too attenuated to establish the
 20   required “direct nexus.”
 21         C.     The exercise of jurisdiction over Bergmair would not be
 22                reasonable.
 23         Even if Plaintiff was able to satisfy the first two elements of the specific
 24   jurisdiction test, the exercise of jurisdiction over Bergmair would not be reasonable.
 25   Courts determine whether exercising such jurisdiction would be reasonable by
 26   considering seven factors: (1) the extent of the defendant’s purposeful interjection
 27   into the forum state’s affairs; (2) the burden on the defendant of defending in the
 28   forum; (3) the extent of conflict with the sovereignty of the defendant’s state; (4) the

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  1   forum state’s interest in adjudicating the dispute; (5) the most efficient judicial
  2   resolution of the controversy; (6) the importance of the forum to the plaintiff’s
  3   interest in convenient and effective relief; and (7) the existence of an alternative
  4   forum. Paccar Int’l, Inc. v. Commercial Bank of Kuwait, S.A.K., 757 F.2d 1058,
  5   1065 (9th Cir. 1985). Because Bergmair is a foreign citizen, Plaintiff “must meet a
  6   higher jurisdictional threshold than is required when the defendant is a United States
  7   citizen.” Core-Vent, 11 F.3d at 1490.
  8         With respect to the first element, Bergmair’s alleged actions in approving the
  9   business model and policies of MindGeek, a foreign company operating websites
 10   with a worldwide audience, at most show only a minimal degree of “purposeful
 11   interjection” into California and thus weighs against jurisdiction. Dole Food Co.,
 12   Inc. v. Watts, 303 F.3d 1104, 1114–15 (9th Cir. 2002) (“[t]here may be
 13   circumstances under which the level of purposeful injection into the forum supports
 14   a finding of purposeful availment yet still weighs against the reasonableness of
 15   jurisdiction”). The second factor also weighs against jurisdiction. Even with
 16   modern transportation and communication methods, it would be burdensome for
 17   Bergmair to litigate in a foreign country located literally on the other side of the
 18   world. Asahi Metal Indus. Co. v. Superior Ct., 480 U.S. 102, 114 (1987) (“unique
 19   burdens placed upon one who must defend oneself in a foreign legal system should
 20   have significant weight in assessing the reasonableness” of jurisdiction). This factor
 21   weighs heavily in Bergmair’s favor even if the burden “would not be insurmountable
 22   [since] it would nonetheless be substantial.”        Callaway Golf Corp. v. Royal
 23   Canadian Golf Ass’n, 125 F. Supp. 2d 1194, 1205 (C.D. Cal. 2000) (quoting Rocke
 24   v. Canadian Auto. Sport Club, 660 F.2d 395, 399 (9th Cir. 1981)). With respect to
 25   the third factor, where the defendant is a foreign resident, “the sovereignty barrier is
 26   high and undermines the reasonableness of personal jurisdiction.” Amoco Egypt Oil
 27   Co. v. Leonis Navigation Co., 1 F.3d 848, 852 (9th Cir. 1993). Here, just like the
 28   United States, Hong Kong has an interest in resolving disputes involving its

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  1   residents, Paccar, 757 F.2d at 1065, so this factor weighs against jurisdiction. The
  2   fourth factor weighs in favor of jurisdiction because California has an interest in
  3   providing a forum for its residents who are tortiously injured. Dole Food Co., 303
  4   F. 3d at 1115–16. The fifth factor looks “primarily at where the witnesses and the
  5   evidence are likely to be located.” Core-Vent, 11 F.3d at 1489. Here, the vast bulk
  6   of the witnesses and evidence – MindGeek employees and documents – are located
  7   outside the United States, so this factor weighs against jurisdiction. With respect to
  8   the sixth factor, “[n]either the Supreme Court nor [the Ninth Circuit] has given much
  9   weight to inconvenience to the plaintiff.” Core-Vent, 11 F.3d at 1490; Dole Food
 10   Co., 303 F.3d at 1116. Although accorded little weight, this factor weighs in favor
 11   of jurisdiction. With respect to the final factor, Plaintiff bears the burden of proving
 12   the unavailability of an alternative forum. Freestream Aircraft (Bermuda) Ltd. v.
 13   Aero Law Grp., 905 F.3d 597, 609 (9th Cir. 2018). Here, a potential alternative
 14   forum exists to litigate claims against Bergmair, namely Hong Kong, where he
 15   resides, which has a fair and effective legal system.29 This factor may weigh against
 16   the plaintiff’s chosen jurisdiction even where “it may be more costly and
 17   inconvenient” for a plaintiff to litigate in the alternative forum.         Panavision
 18   International, L.P. v. Toeppen, 141 F.3d 1316, 1324 (9th Cir. 1998). As a result,
 19   this factor weighs against jurisdiction. In sum, five of the seven factors weigh
 20   against jurisdiction. See Rocke, 660 F.2d at 400 (“Due process requires that we
 21   weigh more heavily the expectations of and burdens upon the defendants than we
 22   weigh the hardships upon the plaintiff”).
 23   II.     Plaintiff has failed to state a claim against Bergmair.
 24           Even if Plaintiff could establish personal jurisdiction, the Court should still
 25   29
         Courts have recognized Hong Kong as an adequate alternative forum, both in the
 26   context of determining the “reasonableness” of exercising specific jurisdiction (as
 27   here) and in connection with motions for dismissal on forum non conveniens
      grounds. See Reflex Media, Inc. v. Luxy Ltd., 2021 WL 945248 at *5 (C.D. Cal. Feb.
 28   5, 2021); Cook v. Champion Shipping AS, 732 F. Supp. 2d 1029, 1033–34 (E.D. Cal.
      2010), aff’d, 463 F. App’x 626, 627 (9th Cir. 2011).
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  1   dismiss the SAC on the merits because its claims are barred by Section 230 of the
  2   Communications Decency Act, 47 U.S.C. § 230 (“Section 230”) and its allegations
  3   against Bergmair are otherwise insufficient to state any viable claim for relief.
  4          A.    Section 230 bars all of Plaintiff’s claims against Bergmair.
  5          As set forth in the motions to dismiss of the MindGeek Entity Defendants and
  6   the other defendants, all of plaintiffs’ claims against Bergmair are barred by Section
  7   230. The SAC’s allegations that Bergmair continued MindGeek’s business model
  8   and approved its policies are too vague and general to state a claim, but accepting
  9   them as true, the immunity afforded by Section 230 extends to Bergmair as a
 10   “provider . . . of an interactive computer service.” 47 U.S.C. § 230(c). Loomer v.
 11   Zuckerberg, 2023 WL 6464133 at *12 (N.D. Cal. Sept. 30, 2023) (where Section 230
 12   immunity applies to Facebook and Twitter, it also extends to their founders and
 13   CEOs, defendants Mark Zuckerberg and Jack Dorsey); Igbonwa v. Facebook, Inc.,
 14   2018 WL 4907632 at *5 (N.D. Cal. Oct. 9, 2018) (where plaintiff sought to hold
 15   Mark Zuckerberg liable on the basis of Facebook’s actions or inaction, he was
 16   entitled to Section 230 protection), aff’d, 786 F. App’x. 104 (9th Cir. 2019). Since
 17   Section 230’s immunity applies to Bergmair, it bars all of plaintiffs’ claims against
 18   him.
 19          B.    The SAC’s generalized allegations fail to state a claim.
 20          The Court must dismiss a complaint under Federal Rule of Civil Procedure
 21   12(b)(6) if it lacks “sufficient facts alleged under a cognizable legal theory.”
 22   Balistreri v. Pacifica Police Dep’t., 901 F.2d 696, 699 (9th Cir. 1988). Although a
 23   Rule 12(b)(6) motion requires the Court to “accept as true all of the allegations
 24   contained in a complaint,” that standard “is inapplicable to legal conclusions.”
 25   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (discussing Bell Atlantic Corp. v.
 26   Twombly, 550 U.S. 544, 555 (2007)). A court considering a motion to dismiss may
 27   “begin by identifying pleadings that, because they are no more than conclusions, are
 28   not entitled to the assumption of truth.” Iqbal, 556 U.S. at 679. The court is not

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  1   required to accept as true “legal conclusions couched as factual allegations.”
  2   ScoreBlue, LLC, 2024 WL 3304515 at *3. A plaintiff must set forth “more than
  3   labels and conclusions, and a formulaic recitation of the elements of a cause of action
  4   will not do.” ScripsAmerica, Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213,
  5   1233 (C.D. Cal. 2015) (internal quotation marks and alterations omitted) (quoting
  6   Twombly, 550 U.S. at 555). Federal Rule of Civil Procedure 8 requires that a
  7   plaintiff provide a “statement of circumstances, occurrences, and events in support
  8   of the claim presented.” Twombly, 550 U.S. at 555 n.3 (quoting 5 Charles Alan
  9   Wright & Arthur R. Miller, Federal Practice and Procedure § 1202 (3d ed. 2004)).
 10   Indeed, Rule 8 “requires a ‘showing,’ rather than a blanket assertion, of entitlement
 11   to relief. Without some factual allegation in the complaint, it is hard to see how a
 12   claimant could satisfy the requirement of providing not only ‘fair notice’ of the
 13   nature of the claim, but also ‘grounds’ on which the claim rests.” Id. This factual
 14   showing must “differentiate between each of the defendants and clearly state the
 15   factual basis for each cause of action as to each specific defendant.” Fagbohungbe
 16   v. Caltrans, 2014 WL 644008, at *3 n.4 (N.D. Cal. Feb. 19, 2014).
 17         Here, the SAC’s allegations are insufficient to hold Bergmair responsible for
 18   the conduct of corporate entities. A corporate shareholder or employee is not liable
 19   for the company’s torts unless he “authorizes or directs or … participates” in the
 20   wrongful conduct. Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1069
 21   (9th Cir. 2016); Coastal Abstract Service, Inc. v. First American Title Ins. Co., 173
 22   F.3d 725, 734 (9th Cir. 1999). Just as in the personal jurisdiction context, cases
 23   finding “personal liability on the part of corporate officers have typically involved
 24   instances where the defendant was the ‘guiding spirit’ behind the wrongful conduct,
 25   or the ‘central figure’ in the challenged corporate activity.” Facebook, 844 F.3d at
 26   1069 (quoting Davis, 885 F.2d at 523 n.10).
 27         District courts have repeatedly ruled that generalized allegations of corporate
 28   oversight and control, like those against Bergmair here, are not sufficient to meet

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  1   the guiding spirit standard and thus fail to state a claim under Rule 12(b)(6). For
  2   example, in In re JUUL Labs, Inc. Marketing, Sales Practices and Products Liability
  3   Litigation, 497 F. Supp. 3d 552 (N.D. Cal. 2020), plaintiffs sued e-cigarette maker
  4   JUUL and several of its board directors alleging that JUUL targeted its advertising
  5   towards youths. The directors allegedly had “control” of the Board and “final say”
  6   over the company’s marketing materials. Id. at 635. The court dismissed the claims
  7   against the directors, ruling that such allegations “[did] not establish the requisite
  8   individual ‘direction or control’ to pin liability” for JUUL’s marketing on them. Id.
  9   The court held that such “generalized allegations are insufficient to connect each
 10   [director] to the direction or control of any unfair acts or youth-targeted marketing
 11   acts,” since there were “no factual allegations of specific conduct” committed by
 12   them or at their direction. Id. at 636 (emphasis in original). The court concluded
 13   that “vague allegations about exercising ‘final say’ over marketing decisions do not
 14   suffice without any specificity concerning what those decisions were and how they
 15   were connected to” plaintiff’s claims. Id. at 654. Similarly, in Lynch v. Matterport,
 16   Inc., 2023 WL 1420723 (N.D. Cal. Jan. 31, 2023), plaintiff sued a company and its
 17   individual directors claiming unfair business practices and alleged that the directors
 18   “authorized, ratified and directed” company practices that harmed him. Id. at *2.
 19   The Court dismissed the case against the directors, ruling that, without “assertions
 20   of personal involvement in the purported wrongdoing” beyond these allegations,
 21   plaintiff failed to state a claim.    Id. at *3.    Likewise, in O’Connor v. Uber
 22   Technologies, Inc., 2013 WL 6354534 (N.D. Cal. Dec. 5, 2013), plaintiff drivers
 23   raised various employment law claims against Uber and two top executives, whom
 24   plaintiffs alleged were liable based on their corporate positions and the fact that they
 25   were “responsible for” the challenged employment policies and pay practices. Id.
 26   at *18. The court dismissed the claims against the executives, ruling that the
 27   plaintiffs had “failed to allege enough specific allegations showing that [they]
 28   personally directed or participated in the tortious conduct.” Id. (citation and internal

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  1   quotation marks omitted).       The court held that “identifying their roles in the
  2   corporation and alleging that they were ‘responsible’ for pay practices and
  3   employment policies does not make it plausible that they were personally liable” for
  4   the company’s actions. Id.30
  5          C.    The SAC fails to properly allege a valid claim on specific counts.
  6          In addition to the protections of Section 230 and the SAC’s overarching lack
  7   of specificity regarding Bergmair, each of the individual counts of the SAC is
  8   insufficiently pleaded in other respects.      Bergmair joins in the motions and
  9   arguments of all the other defendants with respect to the deficiencies in the SAC’s
 10   individual claims.    In addition to the deficiencies identified there, and those
 11   discussed above, Plaintiff’s claims against Bergmair are also insufficient for the
 12   reasons set forth below.
 13                1.      The federal trafficking claims (Counts I and IV) fail to state
 14                        a claim.
 15          In addition to the deficiencies described in the other defendants’ motions,
 16   Plaintiff’s 18 U.S.C. §1595 claims (SAC Counts I and IV), fail against Bergmair for
 17   two additional reasons. First, the SAC alleges that Bergmair is a resident of China
 18   and alleges no conduct by him in the United States. SAC ¶ 17. But §1595 does not
 19   apply extraterritorially. 18 U.S.C. § 1596(a) provides for extraterritorial jurisdiction
 20   over a criminal offense in violation of 18 U.S.C. §1591, but not to a civil claim under
 21   §1595. Doe v. Apple, Inc., 2021 WL 5774224 at *14-16 (D.D.C. Nov. 2, 2021).
 22   Even if §1596(a) applied to civil claims like Plaintiff’s, it only extends
 23   extraterritorial jurisdiction when the defendant is a United States national or lawful
 24   permanent resident or is “present” in the United States. Doe v. WebGroup Czech
 25   Republic, a.s., 2024 WL 3533426, at *9-10 (C.D. Cal. July 24, 2024). As the SAC
 26
 27
      30
        See Iqbal, 556 U.S. at 678–81 (allegations that Attorney General was “architect”
      of discriminatory government policy and he “knew of [and] condoned” policy were
 28   “not entitled to the assumption of truth” since they amount to “nothing more than a
      ‘formulaic recitation of the elements’” of a claim).
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  1   concedes, Bergmair fits neither exception, so § 1595 does not apply extraterritorially
  2   to him. Second, to violate subsection (a)(1) or (a)(2) of §1591, a defendant must
  3   have some knowledge of the plaintiff. Subsection (a)(1) provides, in relevant part,
  4   that a defendant is liable if he “recruits, entices, harbors … a person” whom he
  5   knows is a minor. (Emphasis added.) There is no claim that Bergmair even knew
  6   Fleites, so he could not have taken one of the actions specified in subsection (a)(1)
  7   with respect to her person.31 Under subsection (a)(2), a defendant must have specific
  8   knowledge of and participation in a trafficking venture involving the specific victim.
  9   See S.J. v. Choice Hotels Int’l, Inc., 473 F. Supp. 3d 147, 154 (E.D.N.Y. 2020); Doe
 10   v. Red Roof Inns, Inc. 21 F.4th 714, 725 (11th Cir. 2021). If Bergmair never knew
 11   Fleites, he did not have specific knowledge of (or participate in) a trafficking venture
 12   involving her.
 13                2.     The federal child pornography claims (Counts V and VI)
 14                       fail to state a claim.
 15          In addition to the deficiencies described in the other defendants’ motions,
 16   Plaintiff’s 18 U.S.C. §§ 2252 and 2252A claims (SAC Counts V and VI), fail against
 17   Bergmair for an additional reason. For an individual to violate these statutes, he
 18   must know both the explicit nature of the material and that the performers were
 19   underage. United States v. X-Citement Video, Inc., 513 U.S. 64, 78 (1994). While
 20   the SAC alleges that MindGeek knew that Plaintiff was a minor based on the title of
 21   the video and user comments (SAC ¶¶ 515, 526), it contains no such allegation
 22   regarding Bergmair’s knowledge. Indeed, there is no allegation that Bergmair knew
 23   of Plaintiff’s existence or had any contact at all with the specific videos featuring
 24   her. As a result, these counts plainly fail to state a viable claim against Bergmair.
 25
 26   31
         Count I of the SAC implicitly concedes that Plaintiff cannot satisfy §1591’s
 27   requirements. In stating her claim, the SAC alleges that the MindGeek Defendants
      “recruit, entice, harbor … videos and images depicting CSAM on their websites”
 28   (SAC ¶ 467), ignoring that the statute requires that one of those actions be taken with
      respect to “a person,” not videos.
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  1                                      CONCLUSION
  2         For these reasons, the Court should dismiss the SAC with prejudice for both
  3   lack of personal jurisdiction and failure to state a claim for relief.
  4   Dated: August 30, 2024
  5                                             By: /s/ Ronald G. White

  6                                             RONALD G. WHITE
                                                (admitted pro hac vice)
  7                                             rwhite@wmhwlaw.com
  8                                             Walden Macht Haran & Williams LLP
                                                250 Vesey Street
  9
                                                New York, NY 10281
 10                                             Tel: (212) 335-2387
                                                Fax: (212) 335-2040
 11
 12                                             DAN MARMALEFSKY (CA SBN
                                                95477)
 13
                                                DMarmalefsky@mofo.com
 14                                             Morrison & Foerster LLP
                                                707 Wilshire Boulevard
 15
                                                Los Angeles, California 90017-3543
 16                                             Telephone: 213-892-5200
                                                Facsimile: 213-892-5454
 17
 18                                             Attorneys for Defendant Bernd
                                                Bergmair
 19
 20
 21
 22
 23
 24
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  1                            CERTIFICATE OF COMPLIANCE
  2         The undersigned, counsel of record for Bernd Bergmair, certifies that the
  3   Memorandum of Points and Authorities consists of 40 pages, which complies with
  4   the 40-page limit set forth in the Court’s August 2, 2024 Order Granting Joint
  5   Stipulation Re Briefing Schedule Relating to Defendants’ Responses to Plaintiff’s
  6   Second Amended Complaint (ECF No. 424).
  7   Dated: August 30, 2024               Respectfully submitted,
  8
  9                                        /s/ Ronald G. White
                                           RONALD G. WHITE
 10                                        (admitted pro hac vice)
 11                                        rwhite@wmhwlaw.com
                                           Walden Macht Haran & Williams LLP
 12                                        250 Vesey Street
 13                                        New York, NY 10281
                                           Tel: (212) 335-2387
 14                                        Fax: (212) 335-2040
 15
                                           DAN MARMALEFSKY (CA SBN 95477)
 16                                        DMarmalefsky@mofo.com
 17                                        Morrison & Foerster LLP
                                           707 Wilshire Boulevard
 18                                        Los Angeles, California 90017-3543
 19                                        Telephone: 213-892-5200
                                           Facsimile: 213-892-5454
 20
 21                                        Attorneys for Defendant Bernd Bergmair
 22
 23
 24
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  1                            CERTIFICATE OF SERVICE
  2         The undersigned, the counsel of record for Bernd Bergmair, certifies that the
  3   foregoing instrument was served pursuant to the Federal Rules of Civil Procedure
  4   on August 30, 2024 upon all counsel of record via ECF.
  5   Dated: August 30, 2024                Respectfully submitted,
  6
  7                                        /s/ Ronald G. White
                                           RONALD G. WHITE
  8                                        (admitted pro hac vice)
  9                                        rwhite@wmhwlaw.com
                                           Walden Macht Haran & Williams LLP
 10                                        250 Vesey Street
 11                                        New York, NY 10281
                                           Tel: (212) 335-2387
 12                                        Fax: (212) 335-2040
 13
                                           DAN MARMALEFSKY (CA SBN 95477)
 14                                        DMarmalefsky@mofo.com
 15                                        Morrison & Foerster LLP
                                           707 Wilshire Boulevard
 16                                        Los Angeles, California 90017-3543
 17                                        Telephone: 213-892-5200
                                           Facsimile: 213-892-5454
 18
 19                                        Attorneys for Defendant Bernd Bergmair
 20
 21
 22
 23
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